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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

              v.                               20 Cr. 500 (JGK)

ARTHUR HAYES, BENJAMIN DELO,
SAMUEL REED and GREGORY DWYER,

                      Defendants.



         DEFENDANT BENJAMIN DELO’S SENTENCING MEMORANDUM




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Dated: June 1, 2022
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       We respectfully submit this sentencing memorandum on behalf of Ben Delo, who is

scheduled to be sentenced on June 15, 2022.

I.     PRELIMINARY STATEMENT

       At the center of this case, the parties are in complete agreement. Ben Delo willfully

violated the Bank Secrecy Act (“BSA”) by operating BitMEX without BSA-compliant anti-

money laundering (“AML”) and know-your-customer (“KYC”) programs. Ben stood before the

Court on February 24, 2022 and freely and candidly admitted this conduct: He did not ensure

that U.S. persons were completely restricted from BitMEX and, knowing U.S. persons were

present, failed to ensure that BitMEX had the required AML and KYC policies.

       For reasons that are not entirely clear, the government has sought to overstate the

seriousness of the offense. The government has advanced a narrative of a preplanned effort to

violate the BSA as a central aspect of BitMEX’s business model. The government has further

sought to engraft elements of monetary gain and fraud onto the offense. And the government

urges the Court to rely on uncharged (and unproven) conduct as a factor to support a harsher

sentence. In sentencing co-defendant Arthur Hayes, the Court observed that there was nothing

“anomalous” about a stipulated sentencing range that fit the crime the government charged and

to which the defendant pled. (05/20/2022 Hayes Sentencing Hr’g Tr. at 44:5-8.) The Court

appropriately rebuffed the government’s attempt to dress up this BSA offense as something more

than it is: A serious offense that increased the risk of potential money laundering activity, but

was not itself money laundering or fraud.

       The manner in which Ben committed the offense is of course a principal factor for the

Court to consider. This is not an aggravated BSA violation. Rather, there are compelling
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mitigating circumstances that help justify Probation’s thoughtful recommendation of a sentence

of probation, including:

          Ben’s principal responsibilities at BitMEX were the design and operation of the
           “trading engine,” the automated order-matching functionality at the core of the
           platform.

          Ben had no responsibility for marketing or business development. There is no
           credible argument that he encouraged U.S. users to violate BitMEX’s terms of service
           and trade on the platform.

          Ben personally, in hundreds of customer service interactions, banned users who
           presented a U.S. nexus.

          In co-founding BitMEX, an offshore trading platform, Ben did not set out to violate
           the BSA. He improved controls over time to deter and remove U.S. users. The
           violation took place when he did not do enough, upon learning that U.S. users were in
           fact trading on BitMEX, to either completely and effectively ban U.S. persons or to
           cause BitMEX to adopt an adequate AML policy.

          And while insufficient from a BSA perspective, Ben and BitMEX took steps to thwart
           money laundering, including marking all BitMEX blockchain transactions with the
           “3BMEX” prefix to readily identify transactions as BitMEX-related. There is no
           evidence that Ben ever encouraged bad actors to use BitMEX for unlawful purposes.

       The purported aggravating factors that the government identified as to co-defendant

Mr. Hayes are absent in Ben’s case. Ben was not responsible for legal or compliance policy at

any time. Mr. Hayes was the public face of BitMEX and was in charge of BitMEX’s marketing

efforts. Ben did not participate in media appearances or author blog posts that could fairly be

construed as showing disdain for U.S. regulation. Even disregarding, as we should, the

government’s caustic rhetoric directed at Mr. Hayes, given the circumstances of the offense and

Ben’s role at BitMEX, he is meaningfully less culpable than Mr. Hayes, whom the Court

sentenced to the minimum Zone B sentence.

       Perhaps more importantly, Ben’s personal history and circumstances present a

compelling basis for leniency. Ben has overcome very serious early childhood challenges to


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become a truly wonderful human being. Ben has demonstrated a lifelong commitment to helping

others. He is fundamentally a caring and generous person with a passion for solving problems

that face humankind.

       The government wishes to make this into a case about greed and financial motive. But

Ben signed up to give away the majority of his wealth long before there was any hint of an

investigation of BitMEX. Indeed, he was well on his way to doing so, having made substantial

gifts in 2018 and later committing to the Buffet/Gates Giving Pledge. For Ben, the wealth that

the success of BitMEX generates is a means to a truly worthwhile end. Since October 1, 2020,

Ben’s main concern has been how this case will affect his ability to achieve the philanthropic

goals he has set for himself. It speaks volumes about this man that he is just as concerned about

the damage to his ability to help others than the actual effects of the sentence on him.

       We respectfully submit that Probation’s recommendation gets it right. A sentence of

probation to be served while Ben resides in his country of residence is appropriate in this case.

II.    PROCEDURAL HISTORY OF THE CRIMINAL AND REGULATORY
       PROCEEDINGS

       A.    The Indictment and Guilty Plea

       On September 21, 2020, a federal grand jury in the Southern District of New York

indicted Ben, along with co-defendants Arthur Hayes, Sam Reed, and Greg Dwyer, with one

count of violating the BSA, 31 U.S.C. § 5311, et seq.; and one count of conspiracy to violate the

BSA, 18 U.S.C. § 371.

       The Indictment alleged that Ben, along with co-defendants Arthur Hayes and Sam Reed,

co-founded BitMEX, an online trading platform that solicited and accepted orders for trades in

futures contracts and other derivative products tied to the value of cryptocurrencies, including

Bitcoin. (Indictment ¶ 1.) BitMEX was owned and operated through an entity registered in the


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Seychelles. (Id. ¶ 10.) Ben was BitMEX’s Chief Operations Officer and Chief Strategy Officer.

(Id. ¶ 12.) In his role at BitMEX, Ben was responsible for developing and overseeing the trading

engine, which matched orders submitted on BitMEX’s platform.

       The charges in the Indictment stem from BitMEX’s failure to implement AML and KYC

programs that complied with the requirements of the BSA. (Id. ¶¶ 4, 8.) The Indictment alleged

that Ben understood by September 2015, based on Commodity Futures Trading Commission

(“CFTC”) enforcement orders, which clarified the status of cryptocurrencies under the

Commodity Exchange Act (“CEA”), that BitMEX was required to implement BSA-compliant

AML and KYC programs if BitMEX served U.S. customers or operated in the United States.

(Id. ¶¶ 21, 25.) In response to the CFTC orders, the Indictment alleged that BitMEX announced

that it was withdrawing from the U.S. market. (Id. ¶¶ 2, 28.) Despite withdrawing from the U.S.

market, the Indictment alleged that defendants, including Ben, “encouraged or allowed BitMEX

to be accessed and used by U.S. customers” and “failed to take steps to effectively restrict U.S.

customers from accessing BitMEX.” (Id. ¶¶ 22, 25.)

       On February 18, 2022, Ben entered into a plea agreement with the government. Pursuant

to the terms of the plea agreement, Ben agreed to plead guilty to causing BitMEX to violate the

BSA (Count One) and pay a fine in the amount of $10 million, subject to a reduction for civil

penalties paid to the CFTC prior to the date of sentencing.

       On February 24, 2022, the Court held a change of plea hearing. (02/24/2022 Delo Plea

Hr’g Tr. at 24:9-25:25.) At the hearing, Ben acknowledged that he co-founded BitMEX, which

offered futures products based on cryptocurrencies such as Bitcoin. (Id. at 17:16-20.) Ben

admitted that, despite the “no-U.S. user policy,” he understood that U.S. users found their way

on to BitMEX, and that, even though he would regularly find U.S. users on the platform and



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remove them, “U.S. users were still present.” (Id. at 17:21-25.) Ben also admitted that, in June

2018 when BitMEX began tracking and logging U.S. internet protocol (“IP”) addresses at login,

BitMEX “did not immediately act to restrict trading for this set of known U.S. users.” (Id. at

18:1-3.)

        Ben understood that if BitMEX “had U.S. users on the platform who were actively

trading,” then BitMEX would be deemed to be “in the U.S. for regulatory purposes.” (Id. at

18:3-5.) He also understood that “being in the U.S. meant that BitMEX was supposed to have a

customer identification program, also known as ‘know your customer’ or ‘KYC’” and that, prior

to September 2020, BitMEX did not have such a program. (Id. at 18:5-9.) Ben admitted that

BitMEX “did not have a formal, comprehensive AML program and BitMEX did not file

suspicious activity reports with the U.S. regulators.” (Id. at 18:10-12.) Ben continued to

participate in BitMEX’s operations “[d]espite knowing about the presence of U.S. users and a

legal requirement to have a customer identification program.” (Id. at 18:15-17.)

        The Court accepted Ben’s guilty plea and adjudged him guilty of the offence of violating

the BSA. (Id. at 25:8-15.) The Court scheduled Ben’s sentencing hearing for June 15, 2022.

(Id. at 26:2-6.)

        B.    Settlement of Parallel Regulatory Proceedings

        On the same day that the Indictment was unsealed, the CFTC filed a parallel civil

enforcement action against Ben, his two co-founders, and the entities that comprise BitMEX.

See Compl., CFTC v. HDR Glob. Trading Ltd., 1:20-cv-08132-LTS (S.D.N.Y. Oct. 1, 2020),

ECF No. 1. The CFTC alleged control person claims against Ben based on allegations that

BitMEX failed to register with the CFTC in several capacities under the CEA, including the

failure to register as a futures commission merchant.



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        On August 10, 2021, HDR Global Trading Limited, and the other entities associated with

BitMEX and named as defendants, settled the CFTC action and agreed to pay a $100 million

civil monetary penalty. See Consent Order for Permanent Injunction, Civil Monetary Penalty,

and Other Equitable Relief, CFTC v. HDR Glob. Trading Ltd., 1:20-cv-08132-LTS (S.D.N.Y.

Aug. 10, 2020), ECF No. 62. Of the $100 million civil monetary penalty, $50 million was paid

to the CFTC and the remaining $50 million was offset by payments made pursuant to the

Consent to the Assessment of Civil Monetary Penalty entered by the Financial Crimes

Enforcement Network (“FinCEN”).

        On May 5, 2022, the court in the CFTC action approved a no-admit-no-deny settlement

between Ben and the CFTC. See Consent Order for Permanent Injunction, Civil Monetary

Penalty, and Other Equitable Relief Against Defendant Benjamin Delo, CFTC v. HDR Global

Trading Limited, 1:20-cv-08132-LTS (S.D.N.Y. May 5, 2022), ECF No. 90. As part of the

settlement, Ben has paid a $10 million civil monetary penalty. (Ex. A (proof of payment of

CFTC civil monetary penalty).) Under the terms of Ben’s plea agreement, the $10 million civil

monetary penalty paid to the CFTC reduces the stipulated $10 million fine in this case. In total,

as a 30% owner of BitMEX, Ben has funded or directly paid over $40 million in regulatory

penalties to U.S. authorities.

III.    BEN’S PERSONAL HISTORY AND CIRCUMSTANCES

        A.    Ben’s Childhood and Early Education

                                                                                . (PSR ¶ 84.)

                                                                                     . (Id.)

                                                      . Ben’s family is supportive of him and

they remain close. He does not have any family members in the United States.

        A defining aspect of Ben’s life is that he was born with Asperger’s syndrome, an autism
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spectrum disorder.



                                                                                                                       1



“It wasn’t until [Ben] got the diagnosis of Asperger syndrome, at the age of eleven, that [they]

could understand where he was coming from.” (Id.) Once his family “had a[n] explanation,

[they] were able to modify [their] reactions to help him.” (Id.)




           Following his diagnosis, Ben enrolled at the                                                   ,

Oxfordshire. Attending school in Oxfordshire presented an excellent opportunity for Ben

because Oxfordshire was a leader in the United Kingdom in services for autistic children and

families. This was largely a result of the work of a teacher                                      , who had

developed a model for integrating autistic children into mainstream schools.

adopted this model and created a “Resource Base” for children in the program,

                                                                                                   .

           As his teachers at                        attest, Ben thrived in this environment. Ben’s



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    Letters provided by Ben’s family and friends in support of this sentencing submission are attached as Exhibit B.



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                                , recalls that Ben “was always bright and lively, adventurous, but

with a sense of humor.” (Ex. B at 9 (                     .).) At an early age, Ben “had a great

sense of justice and showed empathy to his peers.” (Id.) With the assistance of the Resource

Base



                                                                           describes how Ben,

despite his diagnosis, “was . . . good company [and] . . . sociable, with an optimistic outlook to

help him glide through life’s difficulties.” (Ex. B at 11 (                .).) He demonstrated an

“interest in helping others” and became a mentor to other children at the

Resource Base. (Id.) Ben’s interest in helping others became a core principle in his life.

          With appropriate support, Ben thrived academically. Ben completed his A-Levels—the

U.K.’s university entrance requirements—receiving four As (the highest designation) in

Mathematics, Further Mathematics, Physics, and Chemistry, and gained admission to Worcester

College at the University of Oxford.

                                                                     , and to this day is grateful to

the extraordinary team of people that assisted him at                     . Ben returns regularly to

                   to speak with students and staff, and as discussed further in this submission, has

donated to the school’s Learning Resource Centre and helped establish the school’s development

office.                                               , observes that “Ben was always kind and

generous with others” and “wanted to help other children and young people with Autistic

Spectrum Conditions by funding projects so they could benefit from the type of help he

received.” (Id.)




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       B.       Ben Attends the University of Oxford

       In 2002, Ben began his studies at the University of Oxford’s Worcester College. Simply

put, Ben was an extraordinary student. He double majored in math and computer science, and

earned a double first, graduating with a perfect GPA in both subjects.

     recalls that Ben was a “remarkable undergraduate” and “among the liveliest and cleverest

of a very lively and clever cohort of Mathematics and Computer Science students—and a long

way from the ‘geekish’ introversion people might expect of someone on the autistic spectrum.”

(Ex. B at 13 (              ).)

       While at Oxford, Ben joined IBM’s elite Extreme Blue internship program as a lead

software developer. Ben was part of a team that devised a prototype for software designed to fix

broken or old web address links, called URLs. As quoted in a New York Times article about the

project, Ben “was attracted by the difficulties of designing complex algorithms to determine the

degree of change in a link, the significance of this change and the best ways to search for missing

links.” Anne Eisenberg, For Missing Web Pages, a Department of Lost and Found, The New

York Times, Oct. 21, 2004, https://www.nytimes.com/2004/10/21/technology/circuits/for-

missing-web-pages-a-department-of-lost-and-found.html%20. The technology was

groundbreaking because it allowed companies to monitor the content of their website and ensure

that links connected to intended content. This was the first glimpse of Ben’s passion and

commitment to complex problem solving, which he would put to use in his career and, later, his

philanthropy.

       C.       Ben’s Career Before Co-Founding BitMEX

       After graduating in 2005, Ben began his career as a software engineer at IBM. In 2007,

Ben moved into the development of high-frequency trading systems at hedge funds and banks,

including GSA Capital, Peel Hunt, and J.P. Morgan. At GSA Capital, Ben was responsible for

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research, development, operation and ongoing improvement, monitoring, and maintenance of

algorithmic execution strategies for several research groups in the hedge fund. In 2010, after

three years at GSA Capital, Ben moved to Peel Hunt where he made a successful business case

to deploy kdb+, a column-based relational timeseries database typically used in high-frequency

trading to store, analyze, and retrieve large datasets at high speed. Ben’s kdb+ expertise would

become central to the successful design and implementation of BitMEX’s trading engine.

                                        notes that “[f]rom the outset Ben was ambitious, creative

and hardworking.” (Ex. B at 16 (                 ).) “He quickly understood [the company’s]

market positioning and presented ideas of how to automate and improve processes many of

which are still in use today.” (Id.) In fact, “[i]n a matter of months [Ben] . . . built an extensive

framework for collecting market and trade data which was . . . used to provide pre- and post-

trade insights, evaluate trading strategies and improve existing processes.” (Id.)

       In 2012, Ben moved from the United Kingdom to Hong Kong to accept a position at J.P.

Morgan as Vice President in Electronic Trading Technology. In his role, Ben was responsible

for the design, architecture, and implementation of a multi-day historic back-tester and analytics

in order to develop and calibrate an algorithm that traded an index arbitrage strategy.

       D.     The Founding and Evolution of BitMEX

       While working for J.P. Morgan, Ben met Arthur Hayes, who was an experienced

derivatives trader and a devotee of cryptocurrency. Mr. Hayes had the idea to start a

cryptocurrency derivatives exchange and was looking for potential partners. Along with fellow

co-founder, Sam Reed, they would go on to found BitMEX.

       BitMEX is a quintessential tech start-up story. In 2014, Arthur Hayes, Sam Reed, and

Ben were three young entrepreneurs in their twenties, all living in Hong Kong. At the time, Ben

was still working as a computer programmer in J.P. Morgan’s Hong Kong office.
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                                                                            . While Mr. Hayes

had the idea for a crypto-product derivatives exchange, he did not have the technical ability to

design and build a modern online trading platform. Ben’s kdb+ programming expertise, his

experience with building trading systems, and his understanding of financial products were a

perfect fit for the role of coder to build out the trading engine for BitMEX. Later, Mr. Hayes met

Mr. Reed, who had the skillset to build the frontend of the platform (the website and customer

interface). Between them, Ben and Mr. Reed brought the technical know-how to the table. Mr.

Hayes—one-part visionary, one-part carnival barker, and one-part businessman—was the leader

among the co-founders and brought the rest. The three young men set out to build BitMEX

without any outside assistance and even used their own credit cards to fund operations and

maintained multiple jobs to execute on their shared vision of creating the world’s first Bitcoin

derivatives exchange.

        Following BitMEX’s launch in November 2014, trading volume was low and profits

were nonexistent. Throughout much of 2015 and into 2016, the business faced a series of

challenges and continued to operate on a shoestring budget. However, by the spring of 2017, the

decision to focus on the Asia markets and on retail customers began to pay off. Trading volume

steadily increased, with an influx of new users attracted to BitMEX, which had built the most

innovative, robust, professional, and secure cryptocurrency trading platform in the industry.

BitMEX users traded with the confidence that the Bitcoin they deposited to support their trading

was safe and secure—because it was: BitMEX has never been hacked and has never missed a

withdrawal. The platform’s flagship “perpetual swap”—which Ben designed—became the most

traded cryptocurrency derivatives product of all time, with over $3 trillion in total volume on

BitMEX alone. Five Years Ago, the Perpetual Swap Was Born. Everything Changed, BitMEX



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(May 14, 2021), https://blog.bitmex.com/five-years-ago-the-perpetual-swap-was-born-

everything-changed/. From its direct access model to its self-clearing mechanism backed by an

insurance fund, BitMEX’s combining of novel product offerings and services made it the

cryptocurrency derivative industry leader.

        The extreme technical complexity and difficulty to implement and execute new,

innovative products and services cannot be overstated. And these extraordinary financial and

technological innovations did not come without personal sacrifices. Indeed, Ben kept his “day

job” at J.P. Morgan until August 2015, and to cover rent during the development period, Ben

listed his apartment’s spare bedrooms on Airbnb. He also spent countless hours in coffee shops,

at dinner writing on the back of napkins, and in his apartment working on the mathematics and

trading engine mechanisms.

       When BitMEX eventually gained traction, the increased volume sometimes overwhelmed

the trading engine and on occasions brought down the entire BitMEX platform. Ben spent his

days and nights improving the performance of the engine to match the exponential growth of the

trading volume.

              After expanding the engine team and handing over responsibilities, he took a five-

month sabbatical in 2019, during which time he indulged in his favorite hobby—mathematics—

and published a paper on mathematics research and numbers theory. (PSR ¶ 95.)

       E.     Ben’s Commitment to Helping Others

       Ben’s academic and professional achievements are a reflection of Ben’s hard work,

intellect, and dedication. But there is another side of Ben beyond academic and professional

success. As the letters provided in support of Ben illustrate, Ben is a humble and conscientious

person with a deep commitment to family, community, and philanthropy. We address each of

these areas, in turn, below.
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                   i.       Ben’s Commitment to Family

           Ben’s family all reflect on how important Ben is to them and how he has given back to

the loved ones who helped him in his difficult early years.                           relays that she “cannot

emphasise enough how important Ben’s family is to him” and that he

                                        and recognizes that his family was always there for him.” (Ex.

B at 4 (                 .).)




           Similarly,                underscores that “Ben is very caring and generous to his extended

family,”

                                              . (Ex. B at 7-8 (               .).)

                        writes that family comes “[f]irst” for Ben, and despite being oceans and

continents apart at times, Ben “rarely misses family gatherings” and he is “devoted to his

immediate family, his wife, his parents, siblings and grandparents,” as well as “his cousins, aunts

and uncles.” (Ex. B at 17-18 (                      .).)

           Ben’s friends share his family’s sentiment.                           writes that she has “always

been impressed by the emphasis Ben places on family values.” (Ex. B at 19 (

    ).) He “will always make sure he has time for his parents and                    siblings” and “enjoys

spending time with them . . . even when he is on the other side of the world.” (Id.) Ben “looks

out for, and after,                                        , often providing support to them in times of

need.” (Id.) And                                                                                        ,

writes that Ben “is tender to his wife, loving with his family, loyal to his friends and alma mater,

and a pillar of his community.” (Ex. B at 20 (                        .).)
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              ii.    Ben’s Commitment to His Community

       Equally important to Ben is giving back to the community where he lives. At every step

of his life, Ben has given what he could to those around him.



                                                 . (Ex. B at 16 (           .).) In Hong Kong,

                                                                    and participated in the
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organization’s initiatives to promote democracy, rule of law, tolerance, and diversity. (Ex. B at

22-23 (               .).) He also assisted with fundraising and hosted events free-of-charge at

BitMEX’s offices. (Id.) Indeed, others observed that Ben was “a generous donor . . . , being a

long-term supporter of Commonwealth values, including sustainable development, equality of

opportunity and the rule of law.” (Ex. B at 24 (                ).)

          Ben also seeks to help those less fortunate in times of need. For example, he has made

100 anonymous donations



                                       The responses to these small gifts, which were not shared

with Ben, are profound and show the impact a few thousand pounds had on the lives of those

who received the funds. (Id.)




          There is perhaps no better illustration of Ben’s passion and desire to help those around

him than Ben’s recent experience in Bermuda, where he is residing as a condition of his bail. In

the time that he has been living in Bermuda,                                       immediately

reached out “asking what he could do to help the local community.” (Ex. B at 29 (                  .).)

Because of Ben’s “selfless donation of time and funds,” a medical clinic in Bermuda was “able

to create a multitude of videos, news announcements, and public seminars that educated the

public and gave them choice in a non-threatening and digestible manner.” (Id.) “[T]hese

concerted efforts” allowed the clinic to “recruit enough physician support to boost [Covid-19]



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vaccination from 30% to 60% in just six months.” (Id.) Additionally, Ben has become friends

with

           reports that Ben has sponsored

                                                                                   . (Ex. B at 31

(              ).) These selfless, and in some respects small, acts demonstrate who Ben is as a

person and compliment his larger philanthropic vision.

              iii.    Ben’s Commitment to Philanthropy

        One overarching theme in the letters provided in support of Ben is his deep commitment

to philanthropic causes. It is not hyperbolic to say that Ben’s philanthropy in a short period of

time is truly remarkable. Following the success of BitMEX,

                                                                                 , Ben committed

himself to helping others and giving back to society.



                                                                                      .

        In May 2018, after Ben received his first dividend payment from BitMEX, he began

making charitable donations to the schools that had helped him deal with the impact of his

autism spectrum disorder. In recognizing the immeasurable aid and assistance he had received

during his formative years, Ben’s first gifts were to his secondary school—                      —

where he donated £250,000 to fund various capital projects.                                  recalls

that, in July 2018, Ben returned to visit the school to “catch up with some of his former

teachers.” (Ex. B at 32 (            .).) Ben was interested in the financial situation of the

school and “was keen to make philanthropic donations to causes close to his heart.” (Id.) Ben

“expressed his interest in developing a long-term relationship with the school, but nothing formal

was discussed.” (Id.) “A few days later, Ben made a donation of £250,000.” (Id.) Not only did
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Ben lend financial assistance, “he gave his time generously and spoke at school assemblies and

at Career Guidance and fundraising events,” “[h]e agreed to mentor a student who had faced

similar challenges and had similar interests,” and he “supported the work of the School

Development Office in establishing a much more secure fundraising programme, focusing on the

contribution that alumni could make.” (Id. at 33.)

       Later, in October 2018, Ben became the youngest major donor in Worcester College’s

300-year history by making a £5,000,000 donation to fund two teaching followships for

mathematics and computer science. (Ex. B at 13-14 (                 ).) When Ben broached the

idea of making the donation,                    at Worcester College was “taken aback at the

magnitude of the sums he was prepared to think about, but not at all surprised at his generosity.”

(Id. at 14.) According to            , Ben stated at the time of the donation that “Worcester

College and the tutorial system gave me the world-class education that laid the path to my

success. I am incredibly grateful and very fortunate to be able to support the College, ensuring it

continues tutoring future generations.” (Id.)

       Then, in April 2019, Ben signed the Giving Pledge, which is a commitment started by

Bill Gates and Warren Buffett to encourage the world’s wealthiest individuals and families to

dedicate the majority of their wealth to charitable causes. See About the Giving Pledge, The

Giving Pledge, https://givingpledge.org/about (last visited June 1, 2022). In signing the Giving

Pledge, Ben also took the unique step of announcing where he plans to direct his charitable

contributions. In his letter signing the pledge, Ben explained:

       My ambition now is to do the most good possible with my wealth. To me, this
       means funding work to safeguard future generations and protect the long-term
       prospects of humanity. This includes mitigating risks that could spell the end of
       human endeavour or permanently curtail our potential. My approach is inspired
       by philosopher William MacAskill and the effective altruism movement, which
       promotes the use of reason and evidence when deciding how best to help others.

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                                                       .

                                                                  , reports that Ben funded the

Foundation’s activities in 2021 and 2022 “to the extent that . . . more than 4,500 students were

supported through grants totaling £718,900 given to 140 schools and colleges.” (Ex. B at 34 (

           .).)




                                         , the Foundation is able to report concrete success stories

from teachers and students, who explain that the projects funded through the grants “have

literally changed these pupils’ lives” and that “[t]he progress has been astounding for our young

people.” (Id.)

       In total, over the last four years, Ben has donated over $41 million to charitable causes.

The number itself is impressive, but as those who know Ben can attest, Ben’s philanthropic

passion is honestly held, as he has championed causes with humility and decency. At his core,

Ben is a humble and decent person with a strong moral character and a desire to help others for

years to come. Ben’s family, friends, colleagues, and contemporaries have consistent things to

say about Ben in this regard:

                                        : “Ben . . . has overcome some challenges to become the
             successful man that he is today. He is very un-materialistic, still insisting on wearing
             old T-shirts, trousers and socks, all the same colour. He enjoys nice meals and
             treating his friends. He is a very trusting and loyal person and once Ben recognizes
             you as a friend he will always be there for you.” (Ex. B at 5.)




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IV.    THE OFFENSE CONDUCT

       The PSR’s offense conduct section is drawn from one-sided material provided by the

government and “various court documents.” (PSR ¶ 10.) As noted in the PSR, defense counsel

objected to the government’s characterization of the offense conduct and provided a separate

summary detailing the nature of the offense. Rather than resolve the parties’ conflicting

positions, the PSR has, for the most part, incorporated both parties’ positions for the Court’s

review. (Id. at 34-47.) However, there are no disputed issues that bear on the stipulated

Guidelines range. Below we set forth aspects of the offense conduct that are relevant to the

Court’s sentencing determination and address the government’s distorted view of the nature of

the offense.

       A.      BitMEX Adopted Controls to Address Problematic U.S. Trading

       Even though BitMEX’s U.S. user policy and related controls were insufficient to prevent

a BSA violation, the evolution of the controls and their partial effectiveness nonetheless present

a mitigating circumstance in this case. Starting in September 2015, BitMEX implemented a U.S.

user ban in response to the CFTC’s announcement in two settled orders that cryptocurrencies

were commodities under the CEA. BitMEX updated its terms of service to ban U.S. persons and

required new users, as well as legacy users who wanted to deposit additional Bitcoin to trade, to

declare their country of residence. To confirm the country of residence that users selected,

BitMEX also implemented an IP address check. The IP address check was designed to detect

users who tried to register for an account or deposit additional Bitcoin from the United States but

selected a different country of residence.

       There is also no dispute that BitMEX’s controls developed over time and became more

robust, especially in 2018 when the platform experienced significant growth. One of BitMEX’s

first steps, after retaining Sullivan & Cromwell in the spring of 2018, was to update its corporate
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user policy. BitMEX had two types of users: retail and corporate. Retail users were individuals

who traded with their own funds; corporate accounts were institutions that traded for a variety of

reasons (hedging, investment, speculation, or market making). In May 2018, BitMEX contacted

all known corporate accounts to remind them of BitMEX’s policy, which restricted access to the

platform for any U.S. person or U.S. operation. BitMEX granted limited access from the United

States for back-office functions in order for compliance personnel to monitor trading positions.

However, the corporate accounts had to sign an attestation confirming that neither the legal

entity for which positions were held, nor the persons directing and controlling trading were

located in the United States. BitMEX obtained good compliance with the policy, with some

corporate accounts moving their trading function offshore or closing their accounts. Ben

personally participated in policing this policy. (Ex. C (



                                                                             ).)

       BitMEX also strengthened its controls with respect to the location of accounts generally.

In July 2018, BitMEX updated its controls to check whether customers, who registered for an

account prior to September 2015, continued to trade on the platform with existing funds

deposited prior to the U.S. user ban. Additionally, following a request in the spring of 2018 from

regulators in Quebec that BitMEX stop offering its services in the province, BitMEX began to

collect users’ IP addresses at every login, not just at registration. In June 2018, BitMEX

restricted access to users logging in from Quebec but did not immediately restrict all users who

were logging in from a U.S. IP address despite having selected a non-U.S. country at registration.

       In September 2018, Ben began to address the problem of users logging in from the

United States. Within about a month, Ben had manually restricted all known U.S. accounts. In



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addition, he supervised a project to move the platform to IP address checks at each login and

automated account restriction upon login from the United States. In this timeframe, Ben made

the poor choice of delaying this automated control for U.S. logins to accommodate back-office

and compliance logins for corporate accounts that had administrative functions in the United

States. Programmers addressed this issue, and on December 12, 2018, the new control went live.

        In addition to developing these technical controls, Ben was also involved in the human

controls through the customer support function. Customer support personnel were trained to

identify potential U.S. users. By 2017, when a user presented a possible U.S. connection in a

customer service interaction, customer service personnel followed a clear policy to restrict

accounts where the user could not demonstrate a non-U.S. residency. As the head of customer

support explained, “




                       There are thousands of customer support tickets showing this policy being

enforced.

       B.    Ben’s Role in the Offense Conduct

       Ben was personally involved in identifying users suspected of circumventing BitMEX’s

U.S. user ban and removing them from the platform. There are hundreds of examples of Ben

restricting users determined to be in violation of BitMEX’s U.S. user policy by either acting in a

customer support role or supporting the customer support team. (See, e.g., Ex. E at

US_00764844-845 (

                                                                                                    );

Ex. F at US_00176941 (                                                                   ); Ex. G at

US_00176954                                                                           ); Ex. H at
                                                23
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US_00766070 (

                                                      ).)

       While the efforts to identify and restrict trading from the United States fell short of 100%

effectiveness, the controls improved over time and had a meaningful impact in reducing the

problematic usage by U.S. persons. Expert analysis made available during discovery and

disclosed to the government showed that BitMEX, through controls developed and implemented

by Ben, turned away at least $109,842,340 in potential U.S.-based revenue. (See Ex. I ¶¶ 7, 8(a)

(02/11/2022 Defs.’ Updated Expert Disclosure).)

       As reflected in Ben’s guilty plea, the controls were admittedly not sufficient to identify

and remove all U.S. users. Users were able to circumvent BitMEX’s controls by using a virtual

private network (“VPN”), which allowed U.S.-based users to disguise their IP address to appear

to be logging in from another, permitted jurisdiction. Additionally, BitMEX, and Ben, did not

act immediately in July 2018 to restrict all accounts that had been logging in from U.S. IP

addresses despite having a declared country from a jurisdiction that allowed BitMEX to operate.

Ben’s guilty plea reflects that he knew that U.S. users found their way onto BitMEX, and that,

even though he would regularly find U.S. users on the platform and remove them, “U.S. users

were still present.” (Delo Plea Hr’g Tr. at 17:22-25.) Ben also admitted that, in June 2018 when

BitMEX began tracking and logging U.S. IP addresses at login, BitMEX “did not immediately

act to restrict trading from this set of known U.S. users.” (Id. at 18:1-3.)

       Without minimizing the seriousness of the admitted offense, it is appropriate to place in

context Ben’s conduct and consider his primary responsibilities at BitMEX. As alleged in the

Indictment, Ben was the Chief Operations Officer and, later, the Chief Strategy Officer.

(Indictment ¶ 12.) His role was distinct from that of Mr. Hayes, who was the CEO and the face



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reported to others in the business and, ultimately, to Mr. Hayes. That Ben understood that U.S.

customers found their way past BitMEX controls is very different from actively soliciting U.S.

customers, which Ben did not do and did not condone. Ben’s consistent customer service record

banning U.S. users when they were found on BitMEX confirms this point.




                                                                   .

       C.    The Government’s Exaggerated View of the Offense Conduct

        Ben takes full responsibility for his failure to cause BitMEX to adopt a BSA-compliant

AML and KYC program after learning that U.S. customers were circumventing BitMEX’s

controls. But the government’s efforts to portray the offense conduct as somehow more serious

or egregious are exaggerated and unpersuasive.

       First, the government describes BitMEX as a criminal enterprise designed to profit from

U.S. law violations. (PSR ¶¶ 16, 18; see also Gov’t Hayes Ltr. at 2-3, 11.) The government

cherry picks statements from BitMEX’s website and early communications from 2014, none of

which were authored by Ben, to suggest that BitMEX’s raison d’etre was to profit from violating

U.S. AML and KYC requirements. (PSR ¶ 18.) But those statements simply reflect the
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contemporaneous understanding that, prior to the CFTC’s enforcement orders in 2015, there was

no government regulation covering Bitcoin-only exchanges and that no other similar exchanges

that employed a crypto-only model had U.S.-compliant AML and KYC programs. (Ex. L at

US_00017056.) The government has never cited any definitive authority that alerted BitMEX,

much less Ben, that it was operating in violation of U.S. law prior to September 2015. Nor could

they, as the Indictment affirmatively alleged that the status of cryptocurrencies was unsettled

prior to the September 2015 CFTC orders. (Indictment ¶¶ 25, 28.)3

         Second, the government has invoked various rhetorical flourishes to describe BitMEX’s

controls—claiming they were a “sham,” “tissue-paper thin,” and “designed to fail” or “be easily

evaded.” (Gov’t Hayes Ltr. at 3; Ex. M at 3, 12 (Gov’t Resp. to Delo PSR Objections).)

BitMEX’s controls, however, were real and had a measurable and significant impact on deterring

unauthorized U.S. customers. BitMEX’s records show that approximately                               users

registered on BitMEX with a U.S. nexus and were never permitted to deposit and trade. (Ex. I

¶ 7 (Defs.’ Updated Expert Disclosure).) Applying a reasonable estimate of the percentage of

registered users from this group who would have converted to trading users as well as reasonable

estimates on average revenue per customer indicates that BitMEX denied access to U.S. users

that would have generated approximately $                         in additional revenue. (Id.)

         BitMEX’s records also show the number of users who were active traders and had their

accounts restricted because of a U.S. nexus. As disclosed pretrial, there were approximately




3
  The government’s suggestion that BitMEX was a “criminal enterprise” is difficult to square with the actual offense
to which Ben pled guilty, which does not involve any claims of deceptive or fraudulent practices. See generally 31
U.S.C. §§ 5318(h) & 5322. It also ignores the undisputed fact that, besides the problematic U.S. trading activity that
BitMEX was unable to sufficiently address, the vast majority of the trading activity occurred in permitted
jurisdictions and was not unlawful.



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after passing BitMEX’s user verification program with a friend’s Canadian identification.

(Ex. N at US_0102314 (



                                                           ).) The second user, User-2, was

removed from the platform once BitMEX discovered that he was instructing users online about

how to circumvent BitMEX’s controls. Following User-2’s removal, Ben reinforced BitMEX’s

policy by manually banning any affiliate with a country of residence in a restricted jurisdiction



                                                         (Ex. P at US_01447395.) These two

isolated incidents do not reflect any rampant effort by Ben or BitMEX to obfuscate U.S.-based

trading.

       Finally, the government suggests, without any factual support, that BitMEX was a

“magnet for criminals looking to launder the proceeds of their illegal activity and commit other

crimes.” (Gov’t Hayes Ltr. at 9.) The mischaracterization of the BitMEX platform plays on

outdated views of cryptocurrencies as inherently nefarious and providing “pseudonymity” to

criminals. (Id. at 11.) Recent court decisions recognize that “virtual currency is traceable” and

that “the myth of virtual currency’s anonymity refuses to die.” See In re Criminal Compl., 2022

WL 1573361, at *4 (D.D.C. May 13, 2022) (citing Matter of Search of Multiple Email Accts.

Pursuant to 18 U.S.C. § 2703 for Investigation of Violation of 18 U.S.C. § 1956, 2022 WL

406410, at *11-12 (D.D.C. Feb. 8, 2022)). That a handful of potential criminals had accounts on

BitMEX does not demonstrate that BitMEX was a haven for criminal activity or that Ben or

BitMEX encouraged or enabled laundering of criminal proceeds. The examples that the

government cite show that private attorneys and government authorities reached out to BitMEX



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(which had an excellent track record of cooperating with U.S. law enforcement inquiries)

precisely because they were able to trace the proceeds to BitMEX. This is a direct result of

actions that Ben and BitMEX took to ensure that every transaction to or from BitMEX included a

“3BMEX” identifier thereby making it clear to anyone searching the immutable ledger (or

blockchain) where proceeds were sent or received. This type of transparency, and the ability for

law enforcement to contact BitMEX to pursue criminal activity, undercuts the claim that

BitMEX, or Ben, facilitated criminal offenses or the laundering of criminal proceeds.

          D.    Uncharged Conduct Should Not Be a Relevant Sentencing Consideration

          The PSR includes references to uncharged conduct. (PSR ¶¶ 41-51.) We objected to the

inclusion of uncharged conduct in the PSR because, as shown in government’s sentencing

submission in the case of Mr. Hayes, it is a transparent attempt to bootstrap sentencing factors

applicable to other more-serious crimes to argue for an above-guidelines sentence. None of the

alleged categories of uncharged conduct—namely, the alleged “Failure to File SARs,”

“Sanctioned Jurisdiction,” and “Other Misrepresentations”—should be considered in connection

with the Court’s sentencing decision because they lack a factual basis or otherwise do not apply

to Ben.

          First, the failure to file SARs with U.S. authorities is already part of the BSA violation

and not a freestanding consideration. See 31 C.F.R. § 1020.210(a)(v)(B) (articulating BSA

requirement for futures commission merchants to “[c]onduct[] ongoing monitoring to identify

and report suspicious transactions”). Ben acknowledges that BitMEX did not file SARs with

FinCEN because BitMEX was not a U.S. company and had banned U.S. persons under

BitMEX’s terms of service. As the government concedes, BitMEX did file SARs in accordance

with Seychelles law, and the failure to file contemporaneous reports with U.S. authorities is a



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product of the failure to implement a BSA-compliant AML and KYC program in response to

U.S. persons accessing the platform in violation of BitMEX’s terms of service.

         Second, as a British citizen who lived and worked outside the United States at all times,

Ben was not subject to the International Emergency Economic Powers Act (“IEEPA”), which

governs transactions with sanctioned jurisdictions. See 31 C.F.R. §§ 560.215, 560.314 (IEEPA

prohibitions only apply to a “United States citizen, permanent resident alien, entity organized

under the laws of the United States or any jurisdiction within the United States (including foreign

branches), or any person in the United States”). Nor could Ben be said to have aided and abetted

or conspired to violate IEEPA. See United States v. Hoskins, 902 F.3d 69, 97 (2d Cir. 2018)

(aiding and abetting and conspiracy theories cannot be used to extend liability beyond the

categories of persons who may be charged under a particular statute).5 It is also worth noting

that BitMEX banned transactions with individuals in sanctioned jurisdictions, applying controls

comparable to those prohibiting U.S. customers.




5
  The government citation to United States v. Zarrab, 2016 WL 6820737, at *10 (S.D.N.Y. Oct. 17, 2016) in
response to Ben’s objections to the draft PSR misses the mark. The court in Zarrab found that “the Indictment
allege[d] a domestic nexus between Zarrab and his co-conspirators’ conduct and the United States, i.e. the
exportation of services from the United States.” Id. at *8. Ben was based in Hong Kong, and the government
alleges that BitMEX offered and sold cryptocurrency products to the users in the United States, not that it exported
services from the United States.



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                                                  .

V.     A SENTENCE OF PROBATION IS APPROPRIATE

       A.     Federal Sentencing Framework

       The “overarching” command of 18 U.S.C. § 3553(a) instructs district courts to “‘impose

a sentence sufficient, but not greater than necessary’ to accomplish the sentencing goals.”

Kimbrough v. United States, 552 U.S. 85, 89 (2007). While the Court is instructed to use the

Guidelines as an initial benchmark, they can and should play no role in the sentencing decision

when doing so would undermine federal sentencing objectives. Id. at 90.

       As the Second Circuit has explained, the Court “must form its own view of the ‘nature

and circumstances of the offense and the history and characteristics of the defendant.’” United

States v. Cavera, 550 F.3d 180, 188-89 (2d Cir. 2008) (quoting 18 U.S.C. § 3553(a)(1)). The

sentencing judge is also directed to consider the factors set forth in 18 U.S.C. § 3553(a)(2),

which include: (a) “the need to reflect the seriousness of the offense, to promote respect for the

law, and to provide just punishment for that offense”; (b) “the need to afford adequate deterrence

to criminal conduct”; (c) “the need to protect the public from further crimes by the defendant”;

and (d) “the need for rehabilitation.” Id. Additionally, district courts must take into account: the

kinds of sentences available, id. § 3553(a)(3); any pertinent Sentencing Commission policy

statements, id. § 3553(a)(5); the need to avoid unwarranted sentence disparities among similarly

situated defendants, id. § 3553(a)(6); and, where applicable, the need to provide restitution to any

victims of the offense, id. § 3553(a)(7).

       In fashioning a just sentence, the Court must conduct its own “independent review of the
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sentencing factors, aided by the arguments of the prosecution and defense” while also giving

“consideration [to its] own sense of what is a fair and just sentence under all the circumstances.”

See Cavera, 550 F.3d at 189; United States v. Jones, 460 F.3d 191, 195 (2d Cir. 2006). It is not

the amount by which a sentence deviates from the applicable Guidelines range that is the

measure of how “reasonable” a sentence is. United States v. Dorvee, 616 F.3d 174, 184 (2d Cir.

2010). Rather, “[r]easonableness is determined instead by the district court’s individualized

application of the statutory sentencing factors.” Id. Application of these factors here strongly

supports the PSR’s recommendation of a probation-only sentence.

       B.    Ben Accepts the PSR’s Advisory Guidelines Calculation

       Pursuant to the parties’ plea agreement and the PSR, the offense level is as follows:

       2B1.1(a) – Base Offense Level                                        8

       3B1.1(a) – Organizer or leader, 5 or more participants               4

       3E1.1(a) – Acceptance of responsibility                              -2

                                      TOTAL OFFENSE LEVEL =                 10

       Because Ben has no criminal convictions, his criminal history score is zero, which places

him in Criminal History Category I. Accordingly, the applicable Zone B Guidelines range is 6 to

12 months in custody and a term of supervised release of 1 to 3 years. 18 U.S.C. § 3583(b)(2).

The PSR also states that the maximum statutory fine is $250,000 and the fine range for this

offense is from $4,000 to $40,000.

       C.    A Downward Variance from the Guideline Calculation Is Warranted Under
             18 U.S.C. § 3553(a)

       Probation recognized that a downward variance was appropriate in this case and

recommended a sentence of two-years’ probation and a $10 million fine in accordance with the

plea agreement. (PSR at 49, 50.) In formulating its sentencing recommendation, Probation


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highlighted that Ben’s actions did not cause a monetary loss to any specific victim and that Ben

admitted that his efforts to implement controls to abide by U.S. law were ineffective. (Id. at 51.)

Probation also took account of Ben’s compliance with the terms of his pretrial release, his

charitable contributions to society, his strong family support, and

                                    . (Id.) We agree that a sentence of probation is appropriate

and discuss below the reasons why the Court should impose a probationary sentence on Ben.

                i.    Ben’s Personal History and Characteristics Weigh Heavily in Favor of
                      a Downward Variance

       Ben is a talented computer scientist and mathematician who has overcome Asperger’s

syndrome to become the co-founder of a first-of-its-kind trading platform. What is revealing

about Ben is his first reaction upon achieving professional success. He immediately sought to

give away his wealth to help current and future generations. As the letters provided by friends

and family show, Ben is a generous, caring, and humble person who seeks to give back to the

people, communities, and institutions that supported him throughout his life. The letters from

friends and family uniformly attest to Ben’s giving spirit and positive contributions. See United

States v. Bulter, 2011 WL 4073672, at *4 (E.D.N.Y. Sept. 13, 2011) (imposing non-Guideline

sentence “in large part because defendant was ‘supported by a large community of family and

friends, . . . who have attested to his good character in written submissions to the court”).

       Ben’s generous acts began well in advance of any allegations of wrongdoing by BitMEX,

which reinforces the authenticity of Ben’s generosity and philanthropic passion to address

existential threats to humanity. (See Hayes Sentencing Hr’g Tr. at 55:4-12 (crediting co-

defendant Hayes’s “record of charitable contributions and community involvement that

apparently preceded any involvement in the current prosecution”).) At 38 years of age, Ben has

the ability to make lasting contributions as he continues his philanthropic endeavors. See United


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States v. Adelson, 441 F. Supp. 2d 506, 513-14 (S.D.N.Y. 2006) (Rakoff, J.) (“[I]f ever a man is

to receive credit for the good he has done, and his immediate misconduct assessed in the context

of his overall life hitherto, it should be at the moment of his sentencing, when his very future

hangs in the balance. This elementary principle of weighing the good with the bad, which is

basic to all the great religions, moral philosophies, and systems of justice, was plainly part of

what Congress had in mind when it directed courts to consider, as a necessary sentencing factor,

‘the history and characteristics of the defendant.’”); see also Rita v. United States, 551 U.S. 338,

364-65 (2007) (Stevens, J., concurring) (“Matters such as . . . charitable[] or public service are

not ordinarily considered under the Guidelines [but are] matters that § 3553(a) authorize the

sentencing judge to consider.”).

       A sentence that includes incarceration or home confinement would also result in personal

hardship to Ben and his family that is disproportionate to the offense and unnecessary to achieve

the objectives set forth in 18 U.S.C. § 3553(a). Ben resides abroad and has limited friends and

no family in the United States.




                                                                                     .

               ii.    The Nature and Circumstances of the Offense Merit a Downward
                      Variance

       There is no support for the notion that Ben, in co-founding BitMEX, had a plan to violate

the BSA, for profit or otherwise. Ben’s focus was building and maintaining a trading engine that

was capable of handling BitMEX’s growing trading volume. In 2018, Ben also worked on the

front-end coding upgrades to improve the U.S. user controls. These upgrades turned away


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substantial incremental U.S. revenue. However, during this time, Ben learned that U.S. users

were present on BitMEX and that BitMEX needed to do more. Ben’s failure in the face of this

known legal duty is the essence of the offense.

       The Court appropriately rejected the government’s effort to have Mr. Hayes sentenced on

the basis of purported aggravating factors. While these factors were largely meritless, they do

not even apply to Ben




                                                                                               The

letters submitted in Ben’s support attest to his belief in the rule of law and doing things the right

way. (Ex. B at 24 (              letter recognizing Ben as a long-term supporter of Commonwealth

values including the “rule of law”); Ex. B at 3 (

                               ).)

                                                                       . There is nothing

aggravated about either this BSA offense or Ben’s role in it.

              iii.    The Need to Avoid Unwarranted Sentencing Disparities and Promote
                      Consistency in Sentencing Merit a Downward Variance

       Several factors counsel strongly in favor of a probationary sentence. Perhaps most

importantly, Ben is not an American, has never worked in the United States, does not currently

reside in the United States,

        . A custodial sentence would be unduly harsh because, as a non-citizen,




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       . See United States v. Thavaraja, 740 F.3d 253, 262-63 (2d Cir. 2014) (“In determining

what sentence is ‘sufficient, but not greater than necessary,’ to serve the needs of justice, a

district court may take into account the uncertainties presented by the prospect of removal

proceedings.”). Such disparate treatment of Ben based on his immigration status, which has

nothing to do with the underlying offense, would be unjust and create an unwarranted sentencing

disparity.

       Sentencing Ben to a term of probation would also be consistent with how, prior to this

case, the Department of Justice treated executives of companies accused of BSA violations.

Simply put, the government has not criminally prosecuted executives of financial institutions on

stand-alone BSA charges. Prior to this case, the government had brought a single civil

enforcement action in U.S. Department of Treasury v. Haider, 14-cv-9987 (S.D.N.Y. 2014)

against the former chief compliance officer of a money services business called MoneyGram for

failing to implement an adequate AML program. The government sought to enforce a $1 million



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civil penalty levied by FinCEN and ultimately settled for $250,000. See Press Release, U.S.

Attorney’s Office for the Southern District of New York, Acting Manhattan U.S. Attorney

Announces Settlement of Bank Secrecy Act Suit Against Former Chief Compliance Officer at

MoneyGram for Failure to Implement and Maintain an Effective Anti-Money Laundering

Program and File Timely SARs (May 4, 2017), https://www.justice.gov/usao-sdny/pr/acting-

manhattan-us-attorney-announces-settlement-bank-secrecy-act-suit-against-former.

       Aside from Haider and this Court’s sentencing of Mr. Hayes, we have found no other

reported cases of individuals being held personally responsible for stand-alone BSA violations as

the Department of Justice’s longstanding practice has been to enter into settlements and deferred

prosecution agreements with the entities without charging individuals criminally. A

representative sampling includes the following resolutions of willful violations of 31 U.S.C.

§ 5318(h) for failing to maintain a BSA-compliant AML program:

          Deferred Prosecution Agreement, United States v. CommunityOne Bank, N.A., 11-cr-
           00122 (RJC) (W.D.N.C. Apr. 28, 2011), ECF Nos. 1 & 2 (uncontested criminal
           information, which included AML charge under 31 U.S.C. § 5318(h)(1) based on the
           failure to detect a “$40,000,000 Ponzi securities fraud and money laundering
           scheme”);

          Deferred Prosecution Agreement, United States v. ABN AMRO Bank N.V., 10-cr-
           00124 (CKK) (D.D.C. May 10, 2010), ECF No. 2-1 (admitting to two-count criminal
           information that contained a BSA violation under 31 U.S.C. § 5318(h) based on the
           bank’s actions to circumvent sanctions and facilitate “the movement of hundreds of
           millions of dollars illegally through the U.S. financial system” on behalf of
           sanctioned entities);

          Plea & Forfeiture Agreement as to Elemetal, LLC, United States v. Elemetal, LLC,
           18-cr-20173 (FAM) (S.D. Fla. Mar. 19, 2018), ECF Nos. 11 & 12 (admitting to BSA
           violation under 31 U.S.C. § 5318(h) based on, among other things, the precious metal
           dealer’s acceptance of gold “from persons and entities without requesting or
           obtaining adequate, or in some instances any, identification and information regarding
           those persons or the source of their gold”);

          Deferred Prosecution Agreement, United States v. Wachovia Bank, N.A., 10-cr-20165
           (JAL) (S.D. Fla. Mar. 16, 2010), ECF No. 13 (admitting to BSA violation under 31

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           U.S.C. § 5318(h) based on “serious and systemic” violations that “allowed certain
           Wachovia customers to launder millions of dollars of proceeds from the sale of illegal
           narcotics through Wachovia accounts over an extended time period”);

          Deferred Prosecution Agreement, United States v. U.S. Bancorp, 18-cr-00150 (LAK)
           (S.D.N.Y. Feb. 12, 2018), https://www.justice.gov/usao-sdny/press-
           release/file/1035081/download (admitting to BSA violation under 31 U.S.C.
           § 5318(h) for “willfully failing to maintain an [AML] program” based on the bank’s
           concealment of problematic practices from its primary regulator and failure to
           monitor, investigate, and report a substantial number of suspicious transactions
           flowing through the bank);

          Deferred Prosecution Agreement, United States v. HSBC Bank USA, N.A., 12-cr-
           00763 (AMD) (E.D.N.Y. Dec. 11, 2012), ECF No. 3-2 & 3-3 (admitting to BSA
           violation under 31 U.S.C. § 5318(h) because the bank “ignored the money laundering
           risks associated with doing business with certain Mexican customers,” which resulted
           in “at least $881 million in drug trafficking proceeds” being “laundered through
           HSBC . . . without being detected”);

          Deferred Prosecution Agreement, United States v. JPMorgan Chase Bank, N.A., 14-
           cr-00007 (PKC) (S.D.N.Y. Jan. 6, 2014),
           https://www.justice.gov/sites/default/files/usao-
           sdny/legacy/2015/03/25/JPMC%20DPA%20Packet%20%28Fully%20Executed%20
           w%20Exhibits%29%20-%20downloaded%20from%20online.pdf (admitting to BSA
           violation under 31 U.S.C. § 5318(h) for failing to maintain an effective anti-money
           laundering program in connection with the Bernie Madoff Ponzi scheme that was
           executed exclusively through accounts at J.P. Morgan);

          Deferred Prosecution Agreement, United States v. Industrial Bank of Korea, 20-cr-
           00257 (DLC) (S.D.N.Y. Apr. 27, 2020), ECF No. 5 (admitting to BSA violation
           under 31 U.S.C. § 5318(h) based on the bank’s failure to “provide the resources,
           staffing, and training necessary to maintain an adequate AML program” “despite
           requests and admonitions from regulators and [the bank’s] own compliance officer”).

       In addition to the novel prosecution of individual defendants on a BSA-only theory, the

government also took the extraordinary step of seeking an above-guideline sentence for

Mr. Hayes. It is unclear whether the government will take the same position for Ben given the

Court’s rejection of the government’s request for an upward variance. (See Hayes Sentencing

Hr’g. Tr. at 54:15-24 (observing that the government “chose not to accuse the defendant of

money laundering or fraud” and “while the government correctly points out that the applicable


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guideline in this case does not take into account the amount of monetary transactions involved,

that was the result of the government’s choice of the appropriate offense for which it sought an

indictment from the grand jury and is the consequence of the offense to which the defendant

pleaded guilty”).) The government’s extreme sentencing position as to Mr. Hayes is inexplicable

given its track record of “non-prosecution” of individuals responsible for organizational BSA

violations.

       Sentencing Ben to a probation-only sentence would also not create any disparity with the

Court’s recent sentencing of Mr. Hayes. The Court sentenced Mr. Hayes to six months home

confinement with location monitoring and two years’ probation. (Hayes Sentencing Hr’g Tr. at

56:2-8.)




       Since Ben has no residence in the United States, imposing a condition of home

confinement raises additional concerns. His home is in Hong Kong, although he has established

a temporary residency in Bermuda during the pendency of this case.



                                 As a practical matter, Probation has no established way to

implement and supervise home confinement in Hong Kong, or any other foreign country.

Whether the Court may even order home confinement in a foreign country is unknown; such a

sentence also implicates comity concerns. In another recent case in this district, the government

appealed the imposition of a term of home confinement to be served in the defendant’s country

of residence, taking the position that authority for such a sentence was unclear. See Principal and

Resp. Br. for Appellee/Cross-Appellant United States of America, United States v. Connolly, 19-



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3806 (2d Cir. Sept. 24, 2020), ECF No. 145. Authority for a sentence of probation to be served

in a foreign country appears to be well established. See United States v. Yagami, 14-cr-272

(S.D.N.Y. March 13, 2017), ECF No. 282 (sentencing defendant to a two-year term of

supervised release to be served in Hong Kong “without actual physical supervision”); see also

United States v. Gardellini, 545 F.3d 1089, 1091 (D.C. Cir. 2008) (affirming district court’s

probation sentence to be served in Belgium); United States v. Saltsman, 07-cr-641 (E.D.N.Y.

July 28, 2010), ECF No. 163 (sentencing defendant to probation to be served in Israel). These

factors present additional reasons to forego a condition of home confinement when imposing a

sentence.

              iv.    A Sentence of Probation Adequately Considers the Sentencing
                     Objectives in 18 U.S.C. § 3553(a)(2)

       There is nothing inadequate about Probation’s sentencing recommendation in this case.

For one thing, a sentence of probation is a significant punishment, especially when coupled with

the reputational harm and negative impact on Ben’s philanthropic projects. See United States v.

Leitch, 2013 WL 753445, at *12 (E.D.N.Y. Feb. 28, 2013) (“[A]s the Supreme Court has

recognized, probation is a significant punishment.”).




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                                                                                             The

impact the criminal conviction has on Ben’s charitable giving and the charities he currently

supports are appropriate considerations in determining a just and proper sentence. See United

States v. Stewart, 590 F.3d 93, 141 (2d Cir. 2009) (instructing that, in order to “properly calibrate

a ‘just punishment,’” a trial court must “consider the collateral effects of a particular sentence”);

United States v. Nesbeth, 188 F. Supp. 3d 179, 180 (E.D.N.Y. 2016) (imposing a below-

Guidelines, non-custodial sentence “

                                                            ”).

       Further, courts have noted that specific deterrence is “not required” where the defendant

has a “law abiding background” and is therefore unlikely to “engage in further criminal activity.”

United States v. Faiella, 2008 WL 4862455, at *2 (E.D.N.Y. Sept. 8, 2008). The same is true

here. Ben has otherwise led a law-abiding life and sought to be a benefit to the communities

where he has lived. The criminal charges have upended Ben’s career and forced him to take a

step back from his professional and philanthropic ventures. Ben has also shown contrition,



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stating openly and repeatedly that he wished he could have done things differently and, without

excusing his conduct, he regrets being young and naïve and not acting swiftly enough to address

U.S. user issues. (PSR ¶ 63.)




                                                                          . Ben has suffered and will

continue to suffer the devastating professional, financial, and personal collateral consequences

that flow from a BSA violation conviction.



                                         .6

VI.     CONCLUSION

        Ben understands fully that he stands convicted of a federal felony and that his conviction

has had and will have consequences. The arguments that we advance on his behalf do not in any

way seek to diminish the seriousness of the offense for which he has been convicted, and Ben

recognizes that some form of punishment is necessary to address his failure to rectify BitMEX’s

BSA failings. Our purpose is to highlight many of Ben’s positive attributes and contributions,



6
 See Tracey Kyckelhahn & Trishia Cooper, U.S. Sentencing Comm’n, The Past Predicts the Future: Criminal
History and Recidivism of Federal Offenders, at 6-9 (Mar. 2017), https://www.ussc.gov/sites/default/files/
pdf/research-and-publications/research-publications/2017/20170309_Recidivism-CH.pdf.



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and place in context his role in BitMEX’s failure to adhere to U.S. law. Ben’s personal story is

compelling. He dealt with and overcame Asperger’s syndrome to become a brilliant and prolific

computer scientist. He aspired to repay his debt to those who helped him along the way and,

immediately following his commercial success, selflessly gave away his money to causes that

will benefit not only those who suffer from similar autism spectrum disorders, but also

generations to come as Ben focuses his giving on the world’s most pressing issues.




                          .

       For the foregoing reasons, we respectfully request that the Court impose a probationary

sentence to be served in Hong Kong, Ben’s country of residence. No fine should be imposed

since Ben has paid $10 million in a civil money penalty to the CFTC as contemplated by the plea

agreement.


Dated: New York, New York
       June 1, 2022                               Respectfully submitted,



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